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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


MARIAN RYAN, et al.,

      Plaintiffs,

v.                                                           1:19-cv-11003-IT
                                               Leave to file granted 5/17/2019
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, et al.,

      Defendants.




     BRIEF OF AMICUS CURIAE IMMIGRATION REFORM LAW INSTITUTE
            IN SUPPORT OF DEFENDANTS AND IN OPPOSITION
        TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
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                              INTEREST OF AMICUS CURIAE

       The Immigration Reform Law Institute (“IRLI”) is a not for profit 501(c)(3) public

interest law firm incorporated in the District of Columbia. IRLI is dedicated to litigating

immigration-related cases on behalf of United States citizens, and also organizations and

communities seeking to control illegal immigration and reduce lawful immigration to

sustainable levels. IRLI has litigated or filed amicus curiae briefs in many immigration-related

cases before federal courts and administrative bodies, including Trump v. Hawaii, 138 S. Ct.

2392 (2018); United States v. Texas, 136 S. Ct. 2271 (2016); City of El Cenizo v. Texas, 890

F.3d 164 (5th Cir. 2018); Arizona Dream Act Coal. v. Brewer, 818 F.3d 101 (9th Cir. 2016);

Washington All. of Tech. Workers v. U.S. Dep’t of Homeland Sec., 74 F. Supp. 3d 247 (D.D.C.

2014); Save Jobs USA v. U.S. Dep’t of Homeland Sec., No. 16-5287 (D.C. Cir., filed Sept. 28,

2016); Matter of Silva-Trevino, 26 I. & N. Dec. 826 (B.I.A. 2016); and Matter of C-T-L-, 25 I. &

N. Dec. 341 (B.I.A. 2010). Because of IRLI’s expertise in immigration law, the Board of

Immigration Appeals has solicited briefs, drafted by IRLI staff, from IRLI’s affiliate, the

Federation for American Immigration Reform, for over twenty years.

                                   STATEMENT OF FACTS

       Amicus adopts Defendants’ statement of facts.

                              SUMMARY OF THE ARGUMENT

       Plaintiffs argue that Immigration and Customs Enforcement (“ICE”) Directive 11072.1

(“Directive”), authorizing arrests of aliens in courthouses in some circumstances, violates

federalism principles and constitutes commandeering of state resources in violation of the Tenth

Amendment. On the contrary, ICE, by making arrests in courthouses, is doing something that

the Massachusetts courts cannot stop, or interfere with, without violating the Supremacy Clause



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of the U.S. Constitution. Since, then, ICE has a right under the Supremacy Clause to make

arrests in state courthouses, its doing so cannot violate federalism, or constitute commandeering.

       State interference with federal arrests in state courthouses would violate the Supremacy

Clause in three ways. First, any attempt by state court personnel to prevent ICE, whether by

legal process or force, from entering courthouses, or from arresting aliens inside, would present

the specter of direct conflict between state and federal officers—a specter that is foreclosed by

the Supremacy Clause. Also, a policy of preventing courthouse arrests by ICE often would

compel court personnel to harbor illegal aliens, in violation of 8 U.S.C. § 1324, making it

impossible for those personnel to obey both federal and state regulations. And, of course, if the

Massachusetts courts were to adopt a policy of hindering or blocking ICE from making arrests in

courthouses, that policy would frustrate congressional purposes, and be obstacle preempted.

       Because, in light of the supremacy of federal law, Massachusetts cannot block ICE from

making arrests in courthouses, ICE is fully within its rights under the Supremacy Clause when it

makes such arrests, and consequently cannot be acting in violation of federalism or the Tenth

Amendment.

                                          ARGUMENT

       The Supremacy Clause provides that federal law “shall be the supreme Law of the Land;

and the Judges in every State shall be bound thereby, any Thing in the Constitution or Laws of

any State to the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2. Under this clause,

Congress has the power to preempt state and local laws. Arizona v. United States, 567 U.S. 387,

399 (2012) (citing Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000)).

       Preemption may be either express or implied, and implied preemption includes both field

preemption and conflict preemption. Lozano v. City of Hazleton, 724 F.3d 297, 302 (3d Cir.



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2013) (citing Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 98 (1992)). Conflict

preemption can occur in one of two ways: where “compliance with both federal and state

regulations is a physical impossibility,” or “where the challenged state law stands as an obstacle

to the accomplishment and execution of the full purposes and objectives of Congress.” Lozano,

724 F.3d at 303 (citing Arizona, 567 U.S. at 399) (internal quotation marks and citations

omitted). “If the purpose of the act cannot otherwise be accomplished—if its operation within its

chosen field else must be frustrated and its provisions be refused their natural effect—the state

law must yield to the regulation of Congress within the sphere of its delegated power.” Savage

v. Jones, 225 U.S. 501, 533 (1912), quoted in Hines v. Davidowitz, 312 U.S. 52, 67 n.20 (1941).

The judgment of courts about what constitutes an unconstitutional impediment to federal law is

“informed by examining the federal statute as a whole and identifying its purpose and intended

effects.” Crosby, 530 U.S. at 373.

       Plaintiffs argue that the Directive constitutes commandeering of state resources in

violation of the Tenth Amendment, and also violates federalism by preempting the historic

powers of the state and intruding onto its police powers in the absence of a clear statement of

such an intent by Congress. Doc. 6 at 16-17. If Plaintiffs’ arguments were correct, however,

Massachusetts courts would be within their rights in adopting on their own the policy Plaintiffs

ask this Court to impose, that of forbidding ICE from making arrests in state courthouses. But

that policy clearly would violate the Supremacy Clause in numerous ways.

   1. A No-Arrests Policy Would Lead To Conflict Between State And Federal Officers.

       If Massachusetts courts enacted a policy of not allowing ICE to make arrests in state

courthouses, and if court officers tried to enforce that policy by forcibly preventing ICE officers

from entering those courthouses, or forcibly preventing ICE officers from taking custody of



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aliens once inside, armed confrontations between state and federal officers, or attempts by each

to place the other under arrest, would be the inevitable result. Needless to say, such a shocking

course would violate the Supremacy Clause, as the Supreme Court decided well over a century

ago in a case in which California arrested a federal marshal for killing a man while protecting a

U.S. Supreme Court justice:

       “If, when thus acting, and within the scope of their authority, [federal] officers can
       be arrested and brought to trial in a state court, for an alleged offence against the
       law of the State, yet warranted by the federal authority they possess, and if the
       general government is powerless to interfere at once for their protection—if their
       protection must be left to the action of the state court—the operations of the general
       government may at any time be arrested at the will of one of its members. The
       legislation of a State may be unfriendly. It may affix penalties to acts done under
       the immediate direction of the national government, and in obedience to its laws.
       It may deny the authority conferred by those laws. The state court may administer
       not only the laws of the State, but equally federal law, in such a manner as to
       paralyze the operations of the government. And even if, after trial and final
       judgment in the state court, the case can be brought into the United States court for
       review, the officer is withdrawn from the discharge of his duty during the pendency
       of the prosecution, and the exercise of acknowledged federal power arrested. We
       do not think such an element of weakness is to be found in the Constitution. The
       United States is a government with authority extending over the whole territory of
       the Union, acting upon the States and the people of the States. While it is limited
       in the number of its powers, so far as its sovereignty extends it is supreme. No state
       government can exclude it from the exercise of any authority conferred upon it by
       the Constitution; obstruct its authorized officers against its will; or withhold from
       it, for a moment, the cognizance of any subject which that instrument has committed
       to it.”

In re Neagle, 135 U.S. 1, 61-62 (1890) (quoting Tennessee v. Davis, 100 U.S. 257, 263 (1879))

(emphases added). See generally Seth P. Waxman & Trevor W. Morrison, What Kind of

Immunity? Federal Officers, State Criminal Law, and the Supremacy Clause, 112 Yale L.J.

2195, 2236-37 (2003) (discussing Neagle).

       It follows that, under the Supremacy Clause, state officers may never use force or legal

process to block federal officers from performing their federal law enforcement duties by




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assuming custody of removable aliens. Accordingly, Massachusetts courts can have no

authority, under that clause, to forbid arrests by ICE in state courthouses.

   2. A No-Arrests Policy Would Compel State Officers To Commit Harboring.

       What are generally referred to as the “anti-harboring” provisions of the Immigration and

Nationality Act (“INA”)—located at Title II, Chapter 8, § 274 and codified at 8 U.S.C. §

1324—read in pertinent part:

       Bringing in and Harboring Certain Aliens

       (a) Criminal penalties.—

       (1) (A) Any person who—
       (iii) knowing or in reckless disregard of the fact that an alien has come to, entered,
       or remains in the United States in violation of law, conceals, harbors, or shields
       from detection, or attempts to conceal, harbor, or shield from detection, such alien
       in any place, including any building or any means of transportation; . . .

       (v) (I) engages in any conspiracy to commit any of the preceding acts, or (II) aids
       or abets the commission of any of the preceding acts, shall be punished as provided
       in subparagraph (B).

       (B) A person who violates subparagraph (A) shall, for each alien in respect to whom
       such a violation occurs—

       (ii) in the case of a violation of subparagraph (A)(ii), (iii), (iv), or (v)(II), be fined
       under title 18, United States Code, imprisoned not more than 5 years, or both . . . .

       The INA defines “person” when used in Title II as “an individual or an organization.” 8

U.S.C. § 1101(b)(3). “The term ‘organization’ means, but is not limited to, an organization,

corporation, company, partnership, association, trust, foundation or fund; and includes a group

of persons, whether or not incorporated, permanently or temporarily associated together with

joint action on any subject or subjects.” 8 U.S.C. § 1101(a)(28). Thus, § 1324 applies not only

to state court officers and personnel, but to those courts themselves, which, under the INA’s

sweeping definition, are organizations, and thus persons.



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       By stopping ICE agents from entering courthouses, or stopping them from arresting

aliens once inside, the Massachusetts courts would compel court officers to “conceal[], harbor[],

or shield[] from detection” aliens in “any place, including any building” (or to attempt to do so)

in violation of 8 U.S.C. § 1324(a)(1)(a)(iii). For example, if ICE agents arrived at or entered a

courthouse to assume custody of an illegal alien, and court officers either refused them entry or

refused to allow them to assume custody, the court officers would be preventing the alien from

being taken out of the courthouse, and thus “harbor[ing]” the alien “in . . . a[] building.”

Accordingly, a policy by the Massachusetts courts of barring ICE from making arrests in

courthouses would coerce court officers to violate the federal anti-harboring statute, and thus

violate the Supremacy Clause by making compliance with both federal and state law impossible.

   3. A No-Arrests Policy Would Frustrate Congressional Purposes.

       Underlying the doctrine of obstacle preemption is the necessity of cooperation between

state and federal sovereignties for our federal system to function properly. As the U.S. Court of

Appeals for the Second Circuit has explained:

       A system of dual sovereignties cannot work without informed, extensive, and
       cooperative interaction of a voluntary nature between sovereign systems for the
       mutual benefit of each system. The operation of dual sovereigns thus involves
       mutual dependencies as well as differing political and policy goals. Without the
       Constitution, each sovereign could, to a degree, hold the other hostage by
       selectively withholding voluntary cooperation as to a particular program(s). The
       potential for deadlock thus inheres in dual sovereignties, but the Constitution has
       resolved that problem in the Supremacy Clause, which bars states from taking
       actions that frustrate federal laws and regulatory schemes.

City of New York v. United States, 179 F.3d 29, 35 (2d Cir. 1999) (internal citations omitted)

(holding 8 U.S.C. § 1373 constitutional).

       As the Supreme Court has recognized, “consultation between federal and state officials is

an important feature of the immigration system.” Arizona, 567 U.S. at 411. For example, in



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passing the Illegal Immigration Reform and Immigrant Responsibility Act (“IIRAIRA”), which

includes 8 U.S.C. § 1373, Congress intended unimpeded communication among federal, state,

and local governments in sharing immigration status information, as well as unobstructed

cooperation in ascertaining the whereabouts of illegal aliens. The Senate Judiciary Committee

Report accompanying IIRAIRA makes this general intent clear:

       Effective immigration law enforcement requires a cooperative effort between all
       levels of government. The acquisition, maintenance, and exchange of immigration-
       related information by State and Local agencies is consistent with, and potentially
       of considerable assistance to, the Federal regulation of immigration and the
       achieving of the purposes and objectives of the Immigration and Nationality Act.

S. Rep. No. 104-249, at 19-20 (1996) (emphasis added), quoted in City of New York, 179 F.3d at

32-33. Thus, in drafting § 1373, Congress intended a cooperative effort among local, state, and

federal law enforcement to enforce immigration law.

       A review of additional federal immigration provisions further underscores this intent.

Shortly before enacting IIRAIRA, Congress enacted the Personal Responsibility and Work

Opportunity Reconciliation Act of 1996 (PRWORA). Entitled “Communication between State

and local government agencies and Immigration and Naturalization Service,” Section 434 of this

law, now 8 U.S.C. § 1644, is nearly identical to § 1373. This provision of PRWORA forbids any

prohibitions or restrictions on the ability of state or local governments to send to or receive from

the federal government information about the immigration status, lawful or unlawful, of an alien

in the United States. Going further than the Senate Judiciary Committee Report accompanying

IIRAIRA, in the Conference Report accompanying PRWORA, Congress made clear its intent in

passing Section 434: to bar any restriction on local police in their communications with ICE.

The scope includes the whereabouts of illegal aliens, which obviously includes notice of their

release from detention.



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       The conference agreement provides that no State or local government entity shall
       prohibit, or in any way restrict, any entity or official from sending to or receiving
       from the INS information regarding the immigration status of an alien or the
       presence, whereabouts, or activities of illegal aliens. It does not require, in and of
       itself, any government agency or law enforcement official to communicate with the
       INS.
                The conferees intend to give State and local officials the authority to
       communicate with the INS regarding the presence, whereabouts, or activities of
       illegal aliens. This provision is designed to prevent any State or local law,
       ordinance, executive order, policy, constitutional provision, or decision of any
       Federal or State court that prohibits or in any way restricts any communication
       between State and local officials and the INS. The conferees believe that
       immigration law enforcement is as high a priority as other aspects of Federal law
       enforcement, and that illegal aliens do not have the right to remain in the United
       States undetected and unapprehended.

H.R. Rep. No. 104-725, at 383 (1996) (Conf. Rep.), quoted in City of New York, 179 F.3d at 32

(emphases added).

       Another federal statute also has the purpose of fostering cooperation in immigration

enforcement. In 8 U.S.C. § 1357(g), Congress made clear that no agreement is needed for state

and local officers or employees “to communicate with [federal immigration authorities]

regarding the immigration status of any individual, including reporting knowledge that a

particular alien is not lawfully present in the United States.” § 1357(g)(10)(A). Likewise,

Congress has refused to require any formal agreement for state and local officers or employees to

“cooperate with [federal immigration authorities] in the identification, apprehension, detention,

or removal of aliens not lawfully present in the United States.” § 1357(g)(10)(B).

       A policy of the Massachusetts courts to prevent ICE from making arrests in courthouses

would frustrate Congress’s purpose of fostering state-federal cooperation in immigration law

enforcement, and also Congress’s purpose of apprehending and removing illegal aliens. Indeed,

the policy would be expressly designed to frustrate these purposes. By thus standing as a




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deliberate obstacle to central purposes of the INA, that policy would fly in the face of the

Supremacy Clause.

                                   *              *                *

          Because a policy by the Massachusetts courts to bar ICE from making arrests in

courthouses would violate the Supremacy Clause in the above ways, Massachusetts courts would

not be within their rights to adopt it. Rather, because state courts may not stop ICE from making

arrests in state courthouses, ICE is clearly within its rights under the Supremacy Clause in

making such arrests, and thus, by so doing, cannot be violating either federalism or the Tenth

Amendment.

                                          CONCLUSION

          For the foregoing reasons, Plaintiffs’ Motion for a Preliminary Injunction should be

denied.

          DATED: May 16, 2019
                                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on May 16, 2019.
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